 4:11-cr-03087-JMG-CRZ            Doc # 27   Filed: 12/14/11    Page 1 of 1 - Page ID # 39




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                    )
                                             )                 CASE NO. 4:11CR3087
                     Plaintiff,              )
                                             )
v.                                           )                        ORDER
                                             )
GUY ALLEN,                                   )
                                             )
                     Defendant.              )


       THIS MATTER comes before the Court on defendant’s Unopposed Motion to

Continue Plea Hearing, filing 26, from December 15, 2011, for approximately one week.

The Court, being fully advised in the premises, and noting that the government has no

objection to said continuance, finds that said motion should be granted.

       IT IS THEREFORE ORDERED that defendant’s plea hearing shall be continued

until the 22nd day of December, 2011, at 10:30 a.m. Mr. Allen is ordered to appear at said

time. This Court further finds that, based upon the showing set forth in defendant’s motion,

the ends of justice will be served by continuing this plea hearing. Further, the Court finds

that taking such action outweighs the best interests of the public and defendant in a

speedy trial. Accordingly, the time from December 14, 2011, until the date next set for

defendant’s plea hearing shall be excludable time, pursuant to 18 U.S.C. §3161(h)(7)(A).

       Dated this 14th day of December, 2011.

                                                  BY THE COURT:

                                                  s/ Cheryl R. Zwart
                                                  _____________________________
                                                  The Honorable Cheryl R. Zwart
                                                  United States Magistrate Judge
